Case 1:04-cv-Oll48-.]DT-STA Document 43 Filed 07/28/05 Page 1 of 5 Page|D 68

&1@0

0 §§ ' `
07058-57659(503) 5`/0( 28 \ZO

iN THE uNiTED sTATEs DlsTRicT couRT ,, 0 ay 'Q
FoR THE WEsTERN DlsTRicT oF TENNEssEE 1514 "*iif:f=:<e.», 3"05

ifr C_/” l;i');- n l
EAsTERN olvlsioN ifa»i:,;//%gci/@
TERRY ABELS as Next Friend and "‘" 04/ /
Guardian Ad Litem for JERRY HUNT,
P|aintiff,
vs. No. 1-04-1148
Judge Todd
GEN|E INDUSTR|ES, iNC., N|agistrate Judge Anderson
DUNCAN ELECTR|C CON|PANY, AND JURV DE|V|ANDED

RENTAL sEvacE coRPoRATloN
(ALso KNOWN As Rsc),

Defendants.

 

AGREED ORDER CORRECTING PROPER PARTY DEFENDANT

 

The parties to this cause have advised the Court that Duncan E|ectric Company is
a division ofWhite E|ectrical Construotion Co., that White Electrica| Construction Co. is the
correct na.ne of Duncan E|ectric Company, and that the pleadings should be amended to
properly reflect White E|ectrica| Construction Co. as a party defendantl

lT iS, THEREFORE, ORDERED that the Amended Compiaint in this cause be
amended to include and incorporate White E|ectrica| Construction Co. in any and all
references therein to Duncan E|ectric Company, so as to state “VVhite E|ectrica|
Construction Co.;" that any and all allegations against or referring to Duncan E|ectricai
Construction Company in the Amended Comp|aint shall be considered to be equally
applicable to and to have been made against or refer to White E|ectrica| Construction Co.

as if originally stated therein; and that the amended references to White E|ectrica|

This document entered on the dockets n compliance
with nuie sa and.'or]s (a) FncP on _'BB`I_Q_S_

Case 1:04-cv-Oll48-.]DT-STA Document 43 Filed 07/28/05 Page 2 of 5 Page|D 69

07055-57659(\3[)8)

Construction Co. in the Amended Comp|aint also be incorporated therein to any and all
pleadings Which reference or mention the Amended Comp|aint.

|T iS FURTHER ORDERED that service of process upon White E|ectrica|
Construction Co. has been properly made through personal service upon Duncan E|ectric

Company.

ENTEREDihiS da§/'of Q///L"}/ ,2005.
j l
Q;l/w»w/ZJ< rio/jt

JquE-iT

APPROVED FOR ENTRY:

RA|NEY, K|ZER, REV|ERE 81 BELL, P.L.C.

BYW’LL'\ QOC» Ux) y `L_W ~_IUL L§/F¢`N`
MARTYR. PHiL lPs,( R#i 990)(
BRADFORDD o)< (( R#i 596) W”~ i'@?»?>ézi’i
Attorneys for P|aintiff
209 East i\/iain Street
Post Office Box 1147
Jackson,TN 38302-1147
(731) 423-2414

STEVE BEAL (BPR #007297)
Attorney for P|aintiff

22 l\/lonroe Street

Lexington, TN 38351-2135
(731) 968-9077

Case 1:04-cv-Oll48-.]DT-STA Document 43 Filed 07/28/05

07058-57659(3[)|3)

w . I(» A,_ ` n [,) F¢/Vrv-/
WlLLlAl\/l E. GODBOLD ill ( R# 65) frey 235¢¢{

SEAN W. MART|N (BPR# 20870)

Leitner, Wil|iams, Dooley & Napo|itan, PLLC
801 Broaci Street. Third Floor

Chattanooga, TN 37402

Aftorney for Renfai Service Corporati'on

MOLLY GLOVER (BPR# 16113)

Leitner, Wi||iams, Dooley & Napolitan, PLLC
254 Court Avenue, Second F|oor

N|emphis, TN 38103

Attorne y for Rental Seri/ice Corporation

J. RANUOLPH Bias, JH. (EIP§Q# 9350l l am ama
Baker, Doneison, Bearman, Caldwe|| & Berkowitz

211 Commerce Street, Suite 1000

Commerce Center

Chattanooga, TN 37201

Attorney for Genie industries lnc.

GIE E KEATO|\U(BPRW 11021()' M,,, ?,3¢1,,
Franz, l\/lcConnel| & Seymour
550 Main Averiue, Suite 500
P.O. Box 39
Knoxvi|le, TN 37901-0039
Attorney for White Electrical Construction Company
and Duncan Electric Company

Page 3 of 5

Page|D 70

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 1:04-CV-01148 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Marty R. Phillips

RAINEY KIZER REVIERE & BELL
209 E. Main St.

Jackson7 TN 38302--114

Sandi L. Pack

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
Commerce Center

Suite 1000

211 Commerce St.

Nashville, TN 37201

Charles O. McPherson

LEITNER WILLIAMS DOOLEY & NAPOLITAN
254 Court Ave.

Second Floor

1\/1emphis7 TN 38103

Reggie E. Keaton

FRANTZ McCONNELL & SEY1\/IOUR7 LLP
P.O. Box 39

Knoxville7 TN 37901

William E. Godbold

LEITNER, WILLIAMS, DOOLEY & NAPOLITAN, PLLC
801 Broad Street

Third Floor

Chattanooga, TN 37402

Bradford D. Box

RAINEY KIZER REVIERE & BELL
209 E. Main Street

Jackson7 TN 38302--114

J. Randolph Bibb

BAKER DONELSON BEARMAN & CALDWELL
211 Commerce St.

Ste. 1000

Nashville, TN 37201

Case 1:04-cv-01148-.]DT-STA Document 43 Filed 07/28/05 Page 5 of 5 Page|D 72

Robert Steve Beal
LAW OFFICES OF STEVE BEAL
22 Monroe Avenue

Lexington, TN 38351

Honorable J ames Todd
US DISTRICT COURT

